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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 15-cv-61736-BLOOM/Valle
  ALEXSAM, INC.,

         Plaintiff/Counterclaim Defendant,

  v.

  WILDCARD SYSTEMS, INC.,
  eFUNDS CORPORATION, and
  FIDELITY NATIONAL INFORMATION
  SERVICES, INC,

        Defendants/Counterclaim Plaintiffs.
  ________________________________________/

                  ORDER ON SEALED MOTION FOR LEAVE TO AMEND

         THIS CAUSE is before the Court upon Plaintiff Alexsam, Inc.’s (“Plaintiff”) Motion for

  Leave to Amend its Complaint, ECF No. [84] (the “Motion”). Having carefully considered the

  Motion, the record in this case, and being otherwise fully advised, the Court denies the Motion.

         On June 12, 2015, Plaintiff filed a complaint for breach of contract and breach of implied

  covenant of good faith and fair dealing against Defendants/Counterclaimants WildCard Systems,

  Inc. (“WildCard”), eFunds Corporation (“eFunds”), and Fidelity National Information Services,

  Inc. (“FIS”) (collectively, “Defendants”) in the Circuit Court of the 17th Judicial Circuit in and

  for Broward County, Florida. Compl., ECF No. [5-1]. In that Complaint, Plaintiff alleges that

  Defendants failed to adhere to the express terms of a Settlement Agreement (“Agreement”)

  previously entered into between the parties, arguing that Defendants have not paid the full

  amount owed to Alexsam under the terms of the Agreement. Compl. ¶ 24-25. Defendants filed a

  Notice of Removal on August 19, 2015, ECF No. [1], removing the state court action to this

  Court pursuant to 28 U.S.C. § 1331, 1338, 1441, and 1454.
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         On March 14, 2016, the Court granted Defendants leave to file an early motion for

  summary judgment addressing termination of the Agreement, ECF No. [66], which Defendants

  filed on April 7, 2016. See Motion for Partial Summary Judgment (“MSJ”), ECF No. [74]. On

  April 20, 2016, Plaintiff filed the instant Motion, requesting leave to amend its Complaint, see

  ECF No. [1-2], seeking to add claims for breach of implied contract, fraud, and negligent

  misrepresentation and to supplement its breach of contract claim and amend its breach of the

  covenant of good faith and fair dealing.

         Fed. R. Civ. P. 15(a)(2) provides that “a party may amend its pleading only with the

  opposing party’s written consent or the court’s leave. The court should freely give leave when

  justice so requires.” “Although leave to amend shall be freely given when justice so requires, a

  motion to amend may be denied on numerous grounds such as undue delay, undue prejudice to

  the defendants, and futility of the amendment.” Mann v. Palmer, 713 F.3d 1306, 1316 (11th Cir.

  2013) (citation omitted).

         However, because Plaintiff’s motion to amend was filed after the Scheduling Order’s

  amendment deadline of December 21, 2015, see ECF No. [44], Plaintiff “must first demonstrate

  good cause under Rule 16(b) before [the Court] will consider whether amendment is proper

  under Rule 15(a).” Sosa, 133 F.3d at 1419. This means that “the likelihood of obtaining

  permission to amend diminishes drastically after the court enters a scheduling order with

  deadlines for amendments that have expired.” Donahay, 243 F.R.D. at 699.

         The Court’s Scheduling Order may be modified only “upon a showing of good cause,”

  which “precludes modification unless the schedule cannot be met despite the diligence of the

  party seeking the extension.” Sosa v. Airprint Sys., Inc.,133 F.3d 1417, 1418 (11th Cir. 1998)

  (citing Fed. R. Civ. P. 16 advisory committee's note; Johnson v. Mammoth Recreations, Inc., 975



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  F.2d 604, 609 (9th Cir.1992) (“If [a] party was not diligent, the [good cause] inquiry should

  end.”)). “In other words, good cause exists when evidence supporting the proposed amendment

  would not have been discovered in the exercise of reasonable diligence until after the amendment

  deadline had passed.” Donahay v. Palm Beach Tours & Transp., Inc., 243 F.R.D. 697, 699 (S.D.

  Fla. 2007) (citing Forstmann v. Culp, 114 F.R.D. 83, 85–86 (M.D. N.C.1987)). Further, “good

  cause is not shown if the amendment could have been timely made,” even if the opposing party

  would not be prejudiced. Id.; see also Kernal Records Oy v. Mosley, 794 F. Supp. 2d 1355, 1369

  (S.D. Fla. 2011), aff'd sub nom. Kernel Records Oy v. Mosley, 694 F.3d 1294 (11th Cir. 2012)

  (“Diligence is evaluated by considering the following factors: (1) whether the plaintiff failed to

  ascertain facts prior to filing the complaint and to acquire information during the discovery

  period; (2) whether the information supporting the proposed amendment was available to the

  plaintiff; and (3) whether even after acquiring the information the plaintiff delayed in seeking the

  amendment.”).

          Plaintiff argues that it has demonstrated good cause to modify this Court’s schedule and

  permit amendment because Plaintiff could not have ascertained certain facts prior to filing the

  Complaint. Specifically, Plaintiff asserts that Defendants repeatedly told Plaintiff that the

  Agreement had not been terminated and that they were complying with the Agreement by

  sending royalty payments. Plaintiff argues that Defendants in their summary judgment motion

  have now “altered their repeated, explicit representations” to Plaintiff that the Agreement had not

  been terminated. Mot. at 10.

         The record, however, clearly reflects that Defendants raised its termination argument in

  several pleadings, as early as their Notice of Removal, ECF No. [1], and Answer, ECF No. [5-5].

  For example, Defendants’ Fifth Separate Defense, asserting Plaintiff had failed to state a claim,



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  avers that “Alexsam terminated the License Agreement it now accuses Defendants of

  breaching.” Answer at 13. The defense specifically cites to a December 3, 2009 letter

  purportedly sent by Alexsam to FIS and stating “WildCard failed to cure the breach described in

  the August 10 letter. The Agreement, under its terms, has thus ended on the 91st day after receipt

  of the August 10 notice. Please give notice of the termination to any third party the rights of

  which this termination has affected.” Id. Defendants also attached these letters to its Answer as

  Exhibits 1 and 2. See id.; see also Notice of Removal ¶ 3 (“Alexsam chose not to disclose in its

  Complaint that in 2009 Alexsam terminated the License Agreement, fully precluding any basis

  for its Complaint.”). Indeed, Plaintiff itself acknowledged Defendants’ termination defense in the

  parties’ Joint Scheduling Report. See ECF No. [43] at 5 (“[I]f the Court finds that the contract is

  terminated, Plaintiff would request leave to amend its complaint to include a claim for patent

  infringement.”).

         Plaintiff recognizes that Defendants raised the defense that the Agreement had been

  terminated within “some cursory claims,” but argue that Defendants’ “recent change of position

  runs counter to a number of statements made by Defendants in their pleadings and discovery

  responses” and that the defense is, therefore, insufficient to put Plaintiff on notice. Repl., ECF

  No. [103] at 4; Mot. at 12. Specifically, Plaintiff maintains that (1) Defendants have previously

  presented in its assertions that Alexsam unilaterally terminated the agreement, which is not

  possible under a plain reading of the termination clause of the Agreement; (2) Defendants’

  repeated denials at the time and continued partial performance provided no factual basis to

  support the termination defense prior to Plaintiff’s suit; and (3) Defendants’ pleadings have

  asserted no factual basis to support the termination argument and that such support was not

  available to Plaintiff until Defendants moved for summary judgment.



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         The Court does not agree that Defendants’ termination defense—in which Defendants

  assert that Plaintiff allegedly terminated the Agreement in a letter stating that WildCard had

  failed to cure a breach and that the Agreement “[had] thus ended”—was insufficient to put

  Plaintiff on notice prior to the amendment deadline. See Answer at 12. Further, Plaintiff itself

  acknowledges in its response in opposition to Defendants’ Motion for Summary Judgment that

  the “evidence upon which Defendants rely is not new.” ECF No. [87] at 1. Indeed, it appears that

  Defendants’ Motion relies primarily on facts and documents available prior to the filing of

  Plaintiff’s Complaint and which “should have been in Alexsam’s possession,” including letters

  and correspondences between Plaintiff and Defendants dating back to 2008 and 2009. See Resp.,

  ECF No. [97] at 4-5; MSJ at 5-6. Because Defendants asserted their termination defense in their

  initial pleadings and well before the deadline to amend set forth in the Court’s Scheduling Order,

  Plaintiff has failed to demonstrate that the amendment could not have been timely made. See

  Donahay, 243 F.R.D. at 699. Plaintiff has failed to show good cause sufficient to modify the

  Court’s Scheduling Order and permit amendment.

         Accordingly, it is ORDERED AND ADJUDGED that Plaintiff’s Motion for Leave to

  Amend its Complaint, ECF No. [84], is DENIED.

         DONE AND ORDERED in Miami, Florida, this 30th day of May, 2016.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
  cc:    Counsel of Record




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